         Case 23-30013             Doc 90 Filed 02/27/23 Entered 02/27/23 15:52:03                       Desc Order
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                                            UNITED STATES BANKRUPTCY COURT
                                               Western District of North Carolina
                                                      Charlotte Division

                                                         Case No. 23−30013
                                                             Chapter 11




In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      B GSE Group, LLC
          dba Bullerdick GSE, LLC
       14034 Clarendon Point Court
       Huntersville, NC 28078
       Social Security No.:
       Debtor EIN:
       45−3602396




    ORDER SETTING CONFIRMATION HEARING AND FIXING TIME
       FOR FILING ACCEPTANCES OR REJECTIONS OF PLAN

A proposed plan under Chapter 11, Subchapter V of the Bankruptcy Code having been filed by the above referenced
debtors(s) on


      1. By March 6, 2023 , the plan and a ballot conforming to Official Form 314 shall be transmitted by the debtor
         by mail to creditors, equity security holders, and other parties in interest as provided in Rule 3017(d).


      2. March 30, 2023 is fixed as the last day for filing written acceptances or rejections of the plan referred to
         above.


      3. March 30, 2023 is fixed as the last day for filing and serving written objections to confirmation of the plan
         pursuant to Rule 3020(b)(1).


      4. April 4, 2023 at 09:30 AM at the Charles R. Jonas Federal Building, 401 West Trade Street, Courtroom 2A,
         Charlotte, NC 28202 is fixed for the hearing on confirmation of the plan.




SO ORDERED.
Dated: February 27, 2023                                                BY THE COURT


                                                                        J. Craig Whitley
                                                                        United States Bankruptcy Judge


Electronically filed and signed (2/27/23)
